Case 1:20-cv-03010-APM Document 557-3 Filed 03/13/23 Page 1of5

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1/25/23, 8:52 PM Case 1:20-cv-03010-APM DocumentsbdtighB ToFikeecO3/13/23 Page 2 of 5

Internet Health Report 2018

 

Decentralization

Spotlight: Too big tech?
April 2018

You know an Internet company is big when your friends think you're weird for opting out of their
services. In 2014, Chris Hartgerink was fed up with what he calls “corporate surveillance” and
wanted to be more mindful of his privacy. He began an arduous process of disentangling his life
from Gmail and Google, which took more than a year. When Hartgerink informed everyone that he
would soon only be reachable on an encrypted ProtonMail email, his friends were disbelieving.

They kept asking him, “Why are you moving email?”

 

Photo by Lena Bell on Unsplash

“This social aspect just made opting-out of these services even more difficult,” says Hartgerink who

is a Mozilla Fellow and a PhD candidate in statistics at Tilburg University in The Netherlands. "I'm

 

sure it would have prevented others from making the same decision."

 

https://internethealthreport.org/201 8/too-big-tech/ 1/4
1/25/23, 8:52 PM Case 1:20-cv-03010-APM Documentshdtigh8 Todtiketeci3/13/23 Page 3 of 5
The network control of major Internet services is only part of the grip they hold on our lives.
Through sheer size and diverse holdings, a few companies including Google, Facebook and Amazon

— or if you live in China, Baidu, Tencent and Alibaba — have become intertwined not only with our

 

daily lives, but with all aspects of the global economy, civic discourse and democracy itself.

These are companies born of the dreams of Internet pioneers. They have supported billions of
people from all walks of life to realize the benefits of the Internet. They have helped human
communication, creativity and commerce flourish. Without them, we would have less information,

less speed, less efficiency — less laughter!

Where contradictions lurk is in the consolidation of power. The problem isn't that these companies
have billion dollar valuations, hundreds of millions of users or large acquisition portfolios. It's that

they are too big. Through monopolistic business practices that are specific to the digital age, they

undermine privacy, openness and competition on the Web.

Corporations are gaining unfettered access to our personal lives (just try hiding a pregnancy from
online marketers). They box out competitors, restricting innovation in the process. As their
capacity to make sense of massive amounts of data grows through advances in artificial
intelligence and quantum computing, their powers are also likely to advance into adjacent
businesses through vertical integrations in hardware, software, infrastructure, automobiles,

media, insurance and more — unless we find a way to disrupt them or break them up.

How? If you delete your Facebook account tomorrow, your mom will probably mind the most. But

the future of a company born only 14 years ago is not predetermined. Teenagers are growing

 

 

 

noticeably tired of Facebook, and its founder Mark Zuckerberg now acknowledges — in a year of
exceptionally bad publicity — that they need us to feel “our time is well spent."

Companies and technologies can change, and so can the regulatory environment around them.
Merger enforcement and competition law are being called on to fight for a healthier Internet in
many countries. This year, India's antitrust regulator fined Google $21 million USD for anti-
competitive behavior (the process began seven years ago).

 

Last year, an even bigger $2.8 billion USD fine was levied against Google by the European
Commission (this process also started seven years ago, and is being appealed). And Facebook, Apple

 

and Amazon have all been probed regarding unfair competition.

These actions show that governments can play a role in rebalancing power. They also show how
slow and outdated our antitrust models are. We need to rethink them so they can be more effective

in the fast moving era of digital markets and network effects.

 

 

https://internethealthreport.org/201 8/too-big-tech/ 2/4
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Real technical interoperability could also be an effective way to rebalance power and open up
competition: Imagine if you could open WhatsApp and chat with someone using Signal. It could

boost competition between existing services and innovation in new ones. Interoperability could

 

ultimately be an imposed standard condition of future mergers.

If users had control over their own data and could move it freely to other services, it would
decrease “lock in" and empower them to move between services of their choosing, including ones
that don't have hundreds of millions of users. This principle of “data portability” is a requirement

of Europe's General Data Protection Regulation (GDPR) which comes into force in May, but it’s not

yet clear exactly how it will be enforced.

 

We have grown used to enjoying free Internet services in exchange for giving companies access to
our personal data, which they repackage and resell to digital advertisers who wish to target a

specific audience or behaviors.

Google and Facebook control 84% of global digital ad revenue, outside China. It has not gone

unnoticed by them that 36% of desktop Internet users now use ad-blockers to avoid annoying ads,

excessive tracking, malware, misinformation and slower Web browsing. They are engaging in

campaigns for “better ads," but more equitable models for advertising are not likely to be born from
this.

 

Similar levels of consolidation have emerged in the world's foremost ‘independent’ Internet
market: China. For example, WeChat, a mobile app of Tencent, is a service so ubiquitous that it is
used for practically all online interactions. “It is like Facebook, Whatsapp, Instagram, Yelp, Square
and Snapchat rolled into one, with a hundred other apps thrown in,” writes Aman Agarwal ina
Hackernoon post with app screenshots. You can even browse the Web from within. This year,
WeChat accounts will be tested in several locations in China for suitability as electronic national
ID.

Plenty of nations (authoritarian and otherwise) glance enviously at China as one of the few

countries that has effectively limited the rise of Silicon Valley companies within its borders. It has
enabled local alternatives to thrive in the country that is home to the biggest number of Internet
users. Yet, China only serves as an another example of what extreme consolidation of power looks

like, and what a distant future of even bigger Internet giants could bring.

Throughout the rest of the world, Facebook, Google and Amazon dominate the Internet experience.
Developing countries have the smallest share of the global app economy, and it’s here that

complaints of “digital colonialism" are gaining traction.

 

 

https://internethealthreport.org/201 8/too-big-tech/ 3/4
1/25/23, 8:52 PM Case 1:20-cv-03010-APM DocumentsbdtigrB ToFikeecO3/13/23 Page 5 of 5
If no search engine can ever challenge Google, and no local apps can ever gain a sustainable market
share, the opportunity promised by a free and open Internet erode. Open source challengers to

social media giants, such as Diaspora and Mastodon, are few and far between, and they may at best

 

 

deliver a proof of concept for an alternative future unless people can move their data freely.

Laws like Europe's GDPR are promising on issues like data portability but they will not deliver
meaningful results unless consumers make specific demands of companies and regulators. Even
when the law is on our side, we need to say: “Hey companies, this is how I want to move my photos

around between Facebook, Instagram and my iPhone."

The only way to keep the Internet in the hands of all of us is to ask for it, build it and demand it.
Consumers, governments and technologists need to push for fair competition, open innovation,

interoperability and standards so the Internet can evolve in more healthy and humane ways.

 

Further reading:

OK Google: Delete My Account (No Wait. No Really.), Chris Hartgerink, 2018
Can Washington Stop Big Tech Companies? Don't Bet on It, Farhad Manjoo, New York Times, 2018

Competition through interoperability, Chris Riley, 2017
My Experiment Opting Out of Big Data Made Me Look Like a Criminal, Janet Vertesi, Time

 

 

Magazine, 2014

How does this article make you feel?

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https://internethealthreport.org/201 8/too-big-tech/ 4/4
